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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. PX-19-181
                                                *
 RONDELL HENRY,                                 *
                                                *
                 Defendant                      *
                                                *
                                             *******

                             ORDER GRANTING CONTINUANCE
                              PURSUANT TO 18 U.S.C. § 3161(h)

       Upon consideration of the Consent Motion To Exclude Time Pursuant to 18 U.S.C. § 3161,

the Court makes the following findings:

       1.       On April 3, 2019, United States Magistrate Judge Charles B. Day authorized a

criminal complaint charging the defendant with violating 18 U.S.C. § 2312. An initial appearance

was held the following day, after the defendant’s arrest.

       2.       On April 10, 2019, a federal grand jury for the District of Maryland returned an

indictment charging the defendant with violating 18 U.S.C. § 2312. ECF No. 13.

       3.       An arraignment on the indictment was held on April 29, 2019. During the

arraignment, the parties were apprised of a motions deadline set for May 20, 2019, and a status

call set for 10:00 a.m. on May 21, 2019.

       4.       The Government filed a motion to toll the Speedy Trial clock from April 29, 2019,

through May 21, 2019, ECF No. 18, which the Court granted, ECF No. 19.

       5.       The Government filed a second motion to toll the Speedy Trial clock from April

29, 2019, through June 24, 2019, ECF No. 21, which the Court granted, ECF No. 23.
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       6.       The parties and Court held a status call on June 24, 2019. On the status call, the

parties sought an additional status call on July 29, 2019. After the later status call, the Court

entered a scheduling order, setting a motions deadline of September 13, 2019. ECF No. 25. The

Government now moves to toll the Speedy Trial clock for the time from June 24, 2019, through

and including September 13, 2019.

       7.       In accordance with the Speedy Trial Act, 18 U.S.C. § 3161(c), the trial of a

defendant charged in an information or indictment shall commence within seventy days from the

filing date of the information or indictment, or from the date the defendant appeared before a

judicial officer, whichever date last occurs.

       8.       However, pursuant to 18 U.S.C. § 3161(h)(7), the Court may grant a continuance

of speedy trial when the ends of justice served by taking such action outweigh the best interest of

the public and the defendant in a speedy trial. Here, the parties believe that the ends of justice are

served by the continuance because (1) defense counsel has stated the need for additional time for

client-related reasons, and (2) the Government is considering seeking a superseding indictment

that would require an additional motions schedule.

       9.       The Government moves to exclude the time from June 24, 2019, through September

13, 2019, in computing the time within which trial must commence under 18 U.S.C. § 3161(h)(7).

This exclusion will provide sufficient time for defense counsel to determine certain client-related

issues, as well as for the Government to determine whether to seek a superseding indictment.

       10.      The defendant, through counsel, consents to this motion.




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       WHEREFORE, in the interest of the defendant and the interests of the public, it is

       HEREBY ORDERED that the time from June 24, 2019, through September 13, 2019, be

excluded in computing the time within which trial must commence.




   8/28/19                                                     /S/
__________________                                 ____________________________
Date                                               Honorable Paula Xinis
                                                   United States District Judge




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